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                                                            Court-Appointed Temporary Receiver for Link Motion
                                                            Inc. Pursuant to The Honorable Judge Victor Marrero of
                                                            the United States District Court, Southern District of New
                                                            York
______________________________________________________________________________
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October 9, 2020

VIA Email
Honorable Debra C. Freeman
United States District Court
500 Pearl Street
New York, New York 10007

        Re: Baliga v. Link Motion Inc. et al., 1:18-cv-11642 (S.D.N.Y.) (VM) (DCF)

Dear Judge Freeman:

        I write pursuant to your September 4, 2020 Order (ECF 163) requiring the Receiver to
provide the Court by October 9, 2020, with (i) an explanation as to why the Receiver made an
application to the Grand Court of the Cayman Islands (the “Cayman Court”) for an order
“recognizing” his authority; (ii) copies of the papers the Receiver submitted to the Cayman Court
in connection with that application; and (iii) an explanation of the Receiver’s understanding of the
ramifications of the Cayman Court Order with respect to his authority to remove or appoint
directors of Link Motion Inc. (“LKM” or the “Company”). Attached to this letter are all documents
that the Receiver submitted to the Cayman Court, the Cayman Court’s February 4, 2020 “Ruling”
setting forth the grounds for its recognition of the Receiver (the “Cayman Islands Ruling”), and its
accompanying February 4, 2020 Order recognizing the Receiver (the “Recognition Order”).1




1
  All documents submitted to the Cayman Court are attached hereto as Exhibits 1 – 14, Exhibits 15 – 21 were not
submitted to the Cayman Court (Exhibit 1, Originating Summons; Exhibit 2, Affidavit of Robert Seiden; Exhibit 3,
RWS-1, a bundle of various documents referred to in the Cayman Islands application; Exhibit 4, Affidavit of Lorin
Williams; Exhibit 5, Draft Cayman Islands Order; Exhibit 6, Skeleton Argument for Cayman Court (“Skeleton
Argument”); Exhibit 7, Canadian Arab Financial Corporation v Player, 1984-85 CILR 63; Exhibit 8, Classroom
Investments v China Hospitals, 2015 (1) CILR 451; Exhibit 9, Grand Court Laws; Exhibit 10, Kalley v. Manus, 1999
CILR 566; Exhibit 11, Schemmer v Property Resources Ltd, [1975] Ch 273; Exhibit 12, In re Philadelphia Alternative
Asset Fund Limited, 2006 CILR Note 7; Exhibit 13, In re Silk Road M3 Fund, Grand Ct., Unreported; Exhibit 14,
Hearing Bundle Index; Exhibit 15, Receivership Order; Exhibit 16, Cayman Islands Ruling; Exhibit 17, Recognition
Order; Exhibit 18, Argentine Holdings (Cayman) Limited v. Buenos Aires Hotel Corporation SA, 1997 CILR 90;
Exhibit 19, Receiver’s July 17, 2020 Letter to the Court; Exhibit 20, In re Bernard L Madoff Investment Securities
LLC, 2010 (1) CILR 231; Exhibit 21, Companies Law (2020 Revision)).

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                                                                Court-Appointed Temporary Receiver for Link Motion
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                                                                the United States District Court, Southern District of New
                                                                York
    A. The Receiver Sought Cayman Recognition To Protect The Company From Being
       Dissolved In The Cayman Islands And To Help Stop Shi From Obstructing The
       Receivership Abroad

       On advice of both US and Cayman Islands counsel, as the Receiver for LKM, I made an
application for recognition of this Court’s February 1, 2019 order appointing the receiver (ECF
26) (“Receivership Order”) for two reasons, both of which I have previously set forth in paragraphs
43-48 of Exhibit 2, an affidavit dated January 10, 2020, submitted in connection with the
Receiver’s seeking Cayman Islands recognition.2 Those reasons are set forth below.

         First, the Receiver sought recognition in the Cayman Islands to prevent the Company
(which is organized under the law of the Cayman Islands) from being dissolved. Similar to how
Shi failed to file the necessary documents on behalf of the Company with the SEC, causing the
Company to be delisted from the New York Stock Exchange in December 2018, the Company
also failed to pay its corporate filing fees that were due in the Cayman Islands by January 31,
2020.3 As a result, LKM was at risk of being removed from the Cayman Registrar of
Companies (“Registrar”) and being dissolved.4 As the Grand Court of the Cayman Islands
recognized in ruling on the Receiver’s application, “[t]he fact is that the Individual Defendants
against whom the allegations of misfeasance have been made have abandoned the Company and
put it at risk of being struck off administratively and dissolved.”5

        In the Cayman Islands, it is impossible to pay the registered fees for an exempted
company, such as LKM, without engaging a registered agent. The Receiver understood, based
upon advice of Cayman counsel, that failure to engage a registered agent, such as LKM’s
registered agent before the Receivership, Maples Corporate Services Limited (“Maples”), would
have resulted in the Company being removed from the Registrar and dissolved. 6 However,
before the Recognition Order, the Receiver was not able to act on behalf of LKM in the Cayman
Islands as a matter of Cayman law. That position was consistent with Cayman Islands law,
which looks to the jurisdiction of incorporation to determine who is entitled to act on behalf of a
company.7 Therefore, Maples would not engage the Receiver on behalf of the Company without

2
  See Exhibit 2, Affidavit of Robert Seiden ¶¶ 43-48; see also Exhibit 6, Skeleton Argument ¶ 3 (“[T]he Individual
Defendants have ignored, obstructed and frustrated the Receivership. They have also allowed Link Motion’s
corporate filings in this jurisdiction to fall into arrears, risking a dissolution of the Company.”).
3
  See Exhibit 2, Affidavit of Robert Seiden ¶ 45.
4
  See Exhibit 2, Affidavit of Robert Seiden at ¶ 45 (“The failures to pay the corporate filing fees and maintain a
registered office services provider are serious risks to the viability of the receivership and the continued efforts to
recover value for the Company and its shareholders, as a strike off and dissolution could potentially raise concerns
as to the Company's title to its asset and jeopardize my ability to carry out my duties as Receiver.”); see also Exhibit
6, Skeleton Argument ¶ 16.
5
  See Exhibit 16, Cayman Islands Ruling ¶ 16.
6
  See Exhibit 21, Companies Laws § 170 (“Any exempted company which fails to comply with section 168 or 169
shall be deemed to be a defunct company”); see also Exhibit 16, Cayman Islands Ruling ¶ 6 (“Failure to pay the fees
or maintain a registered office raises a significant risk that the Company will be struck-off the register and dissolved,
putting its status and title to its assets in jeopardy and that, without recognised legal status in the Cayman Islands,
the Receiver will not have the required authority to intervene and prevent the administrative strike-off.”); see also
Exhibit 2, Affidavit of Robert Seiden at ¶ 45.
7
  See Exhibit 20, In re Bernard L. Madoff Investment Securities LLC, 2010 (1) CILE 231 at ¶5 (“The Cayman
conflict of laws rules applicable to this issue are well established. Firstly, all matters concerning the constitution of a

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a Cayman Islands court order recognizing the Receivership.8 Accordingly, as the Cayman Court
recognized in its ruling that the Receiver sought “the recognition of his appointment by [the
Cayman] Court to allow him to protect the interests of the Company.”9

        Second, the Receivership sought Cayman Islands recognition to stop Shi from obstructing
the Receivership abroad, depleting the Company of its revenue and assets, and seeking to bolster
his legitimacy by claiming that the Receivership was illegitimate.10 Between May 15, 2019 and
November 5, 2019, Shi, through his agents, siphoned over $80 million dollars from the
Company.11 Further, Shi engaged in various fraudulent actions that harmed the Company. For
example, as detailed in the Receiver’s affidavit filed with the Cayman Court, Shi took “steps to
force certain Company employees to resign, then offered to rehire them to continue their work on
the Company's revenue generating applications through a different entity set up to receive those
revenues; and (ii) Shi attended at the Company's offices to cause accounting and legal
documents to be removed and to destroy and damage operating data systems and the Company’s
main contract management system.”12 To strengthen his legitimacy and control of LKM abroad,
Shi claimed, via a Chinese social media platform, that the Receiver’s appointment by a New
York court “does not have effect under Cayman Islands law and is therefore not binding on the
Company or should not be recognized in other jurisdictions.”13

       Specifically, Shi, purporting to act as the Company, issued a press release on March 12,
     14
2019 , claiming that the board of directors and majority shareholders voted unanimously that:

                 “1. In view of the normal and sound daily operation of the
                 company, the shareholders' meeting and the board of directors, the
                 minority shareholders' litigation has no factual and legal basis.
                 The US and Hong Kong courts do not have jurisdiction over the
                 Company, and there is no official judicial process being initiated.
                 Therefore, it can be determined that the minority shareholders’
                 intent to take over the Company is completely invalid, and such act
                 has seriously violated the legitimate rights and interests of
                 majority shareholders and the Company;

                 2. Authorize the management and board of the Company to pursue
                 the losses caused by the minority shareholders and related
                 responsible individuals to the Company and major shareholders to
                 the Company and majority shareholders; request the

corporation are governed by the law of the place of its incorporation. It follows that the law of the place of
incorporation determines who are the company’s officials authorized to act on its behalf.”)
8
  See Exhibit 16, Cayman Islands Ruling ¶ 16 (“Recognising the Receiver's appointment would, inter alia, give him
the standing to engage or direct a Cayman registered office provider for the Company, to pay the necessary fees and
costs directly and otherwise act on behalf of the Company.”).
9
  See Exhibit 16, Cayman Islands Ruling ¶ 6.
10
   See Exhibit 2, Affidavit of Robert Seiden ¶ 43.
11
   See Exhibit 19, Receiver’s July 17, 2020 Letter to the Court.
12
   See Exhibit 2, Affidavit of Robert Seiden ¶ 39(b); see also Exhibit 3, RWS-1 at 119-122.
13
   See Exhibit 2, Affidavit of Robert Seiden ¶ 43; see Exhibit 6, Skeleton Argument ¶ 17.
14
   See Exhibit 3, RWS-1 at 117-118; see also ECF 30, Exhibit 7, Press Release.

                                                        3
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                                                            York
                 aforementioned media to immediately cease and desist false
                 reports; and retain lawyers to challenge the jurisdiction of the U.S.
                 and Hong Kong courts”15

       Thus, as the Receiver stated in an affidavit to the Cayman Court, without the Recognition
Order, “Shi and others involved in the mismanagement and asset-stripping of Link Motion
[would have been] able to continue to rely on arguments that the Receiver, and the receivers
appointed in the HK Court, have no status under the law of the jurisdiction of incorporation of
the Company and therefore no valid claim to act for or on behalf of Link Motion.”16
Accordingly, the Receivership sought Cayman Islands recognition to stop Shi from claiming that
the Receiver did not have “status under the law of the jurisdiction of incorporation of the
Company and therefore no valid claim to act on behalf of Link Motion . . . “[and to] aid the US
Court and the US Proceeding in recovering and protecting the assets of Link Motion.”17

        Knowing that the Company was at risk of being struck off the Registrar and that Shi was
acting to obstruct the Receivership abroad, the Receiver sought, under seal, approval from Judge
Marrero to domesticate the Receivership Order in the Cayman Islands.18 Once Judge Marrero
approved the request to domesticate the Receivership in the Cayman Islands, the Receivership
engaged Mark Russell, the Head of Insolvency and Restructuring at KSG Attorneys at Law in the
Cayman Islands, to apply for Cayman Islands recognition.

       On February 4, 2020, the Cayman Court recognized my appointment as the Receiver over
       19
LKM. Notably, based on discussions with Cayman counsel, this is the first time that a Receiver
appointed by a United States court has been recognized over a Cayman Islands Company.

        Upon receiving recognition in the Cayman Islands, the Receivership took immediate action
to protect the Company. The Receiver’s team secured the Recognition Order which recognized
the Receiver’s “appointment by [the Cayman Court] noted on the Register of Directors of Link
Motion Inc.”20 and engaged Maples as the Company’s registered agent to pay LKM’s corporate
filing fees. As a result, the Company is currently in good standing with the Registrar, Shi is no
longer able to claim that the Receivership is not legitimate abroad, and the Receiver’s ability to
preserve the Company’s assets has been enhanced.




15
   See Exhibit 3, RWS-1 at 117-118; see also ECF 30, Exhibit 7; Exhibit 2, Affidavit of Robert Seiden ¶ 39(a).
16
   See Exhibit 2, Affidavit of Robert Seiden ¶ 44.
17
   See Exhibit 2, Affidavit of Robert Seiden ¶ 44.
18
   On September 18, 2019, the Receiver filed an application, under seal, to engage Mark Russell at KSG Attorneys
at Law in the Cayman Islands to domesticate the Receivership in the Cayman Islands. The Receiver’s application
was granted, under seal, on September 19, 2019.
19
   See Exhibit 16, Cayman Islands Ruling; see also Exhibit 17, Recognition Order.
20
   See Exhibit 17, Recognition Order ¶ 4.

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                                                               York
     B. The Cayman Court Recognized The Receiver’s Authority To Exclude Directors From
        The Control Of, Management Of, And Participation In The Affairs Of The Company

        The Recognition Order recognized that the Receiver may exclude directors from the
“participation of or in the Company’s affairs.”21 This is because the power to “exclude existing
directors and officers from ongoing management of the Company”22 is an inherent power granted
to receivers.23 Indeed, under both New York law24 and Cayman law, as recognized by the Cayman
Islands’ highest court25, a receiver displaces the directors of a company upon being appointed.26
As such, “[t]he powers of the directors in this respect are entirely in abeyance so far as that
business of the company is concerned, and the relevant powers of the company are exercised by
the receiver under the direction of the court.”27 The Recognition Order specifically provided that
Receiver could exclude directors from participating in LKM’s affairs, stating that the Receiver
“may exercise his recognized powers and functions in the Cayman Islands to the exclusion of any
other person.”28

        However, under Cayman Islands law, the power to appoint or remove a director from his
or her official title is typically reserved for shareholders and is not a power a local receiver typically
has. Accordingly, the Recognition Order did not recognize the Receiver’s authority to remove or
appoint directors in their official capacity. 29 Stated differently, the Cayman Court could not
recognize a power granted to a receiver by a foreign court where that power is not capable of being
granted to a receiver under Cayman Islands law.30

21
   See Exhibit 6, Skeleton Argument ¶ 13(c).
22
   See Exhibit 6, Skeleton Argument ¶ 30 (emphasis added).
23
   See § 7813.Powers and duties of receivers, 16 Fletcher Cyc. Corp. (“Where a receiver conducts the business of the
corporation, that receiver takes the place of the directors in the management of the corporate affairs.”).
24
   See Planten v. Natl. Nassau Bank of New York, 157 N.Y.S. 31, 35 (N.Y. Sup. Ct. 1916) (“the receiver, once one is
appointed, displaces the directors in the control of the corporation. This is familiar law, and is not only expressly
provided in many statutes, but is a long-established and well-recognized practice.”); see also Abm. S. See & Depew
v. Fisheries Products Co., 9 F.2d 235, 237 (2d Cir. 1925) (“The appointment of the receivers supersedes the power
of the directors to carry on the business of the corporation, and the receivers take possession of the corporation until
the further order of the court.”).
25
   See Exhibit 7, Canadian Arab Financial Corporation v. Player, 1984-85 CILR 63 at 67 ¶ 1 (“[I]t was clear that on
this subject the legal position was the same in Canada as it was in England and, by derivation, the Cayman Islands.
The appointment of the appellant as receiver and manager had the effect of vesting the complete control and
management of the second defendant in the appellant as an officer of the court (not as an agent of the company),
thereby displacing the board of directors.”; see also 1984-85 CILR at 109-110) (emphasis added).
26
   See 19 C.J.S. Corporations § 856 (“Since a corporate receiver supplants officers and directors of corporation and
stands in their shoes, insofar as the appointment of a receiver vests the right to control the corporate property, it is
obvious that the directors and officers of the corporation are, by the appointment, deprived of authority over or
control thereof.”) (emphasis added).
27
   See Exhibit 18, Argentine Holdings (Cayman) Limited v. Buenos Aires Hotel Corporation SA, 1997 CILR 90 at 102
Line 37 to 104 line 5 (quoting Kerr on Receivers, 16th ed., at 216 (1983)) (analyzing multiple Cayman Islands cases
for the same proposition).
28
   See Exhibit 17, Recognition Order ¶ 3.
29
   See Exhibit 16, Cayman Islands Ruling ¶ 15 (“In this case, the powers conferred upon the Receiver are the same
as could be granted by this Court, save for the power to appoint Directors which will be excluded from the
Recognition Order.”); Exhibit 17, Recognition Order ¶ 2.
30
   See Exhibit 16, Cayman Islands Ruling ¶ 15 (“One of those conditions is that the powers conferred upon the
foreign Receiver be powers capable of being granted under Cayman Islands law.”)

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                                                        York

        Accordingly, based upon the Receivership Order and the Recognition Order, the Receiver
has the power to exclude LKM’s directors from the management of the Company and participation
in any Company affairs, though the Receiver cannot appoint or remove a director. In line with
these powers and limitations, while Shi still holds the title of Chairman of the Company’s board
of directors, he has been excluded from “control of, management of, or participation in, the affairs
of the Company.”31

        The Receiver is available to discuss the foregoing with Your Honor. If the Court requests,
Mark Russell, the Receiver’s counsel in the Cayman Islands, will join the October 15, 2020
teleconference. Please do not hesitate to contact me via email or telephone if your Honor wishes
to discuss this matter in further detail.

                                                          Sincerely,



                                                          Robert W. Seiden, Esq.
                                                          Court-Appointed Temporary Receiver for
                                                          Link Motion Inc




31
     See Exhibit 15, Receivership Order II(2)(b).

                                                    6
